 Case 3:17-cv-00183-NJR Document 89 Filed 02/11/21 Page 1 of 2 Page ID #873



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

NICOLE DENISE NELSON,                                       )
individually and on behalf of all others                    )
similarly situated,                                         )
                                                            )
        Plaintiff,                                          )      Case No.: 3:17-cv-00183-NJR
                                                            )
v.                                                          )
                                                            )
GREAT LAKES EDUCATIONAL LOAN                                )
SERVICES, INC., and                                         )
DOE DEFENDANTS 1-10,                                        )
                                                            )
        Defendants.                                         )

                                       JOINT MOTION TO STAY

        Plaintiff Nicole Denise Nelson and Defendant Great Lakes Educational Loan Services, Inc.,

by and through their undersigned counsel, hereby move to stay all pending deadlines in this matter.

In support of this request, the Parties state as follows:

        1.      At this time, the Parties have reached a settlement in principle.

        2.      As such, the Parties request that this matter be stayed and all pending deadlines be

stricken, such that the Parties can reduce their agreement to writing.

        3.      This request is not made for purposes of delay, and no Party will be prejudiced by the

relief requested herein.



Dated: February 11, 2021                                    Respectfully submitted,

                                                            By: /s/ Brandon M. Wise
                                                            Brandon M. Wise – #6319580
                                                            Paul A. Lesko - #6288806
                                                            PEIFFER WOLF CARR
                                                            KANE & CONWAY, APLC
                                                            818 Lafayette Ave., Floor 2
                                                            St. Louis, Missouri 63104

                                                    1
 Case 3:17-cv-00183-NJR Document 89 Filed 02/11/21 Page 2 of 2 Page ID #874



                                                        314.833.4825
                                                        bwise@peifferwolf.com
                                                        plesko@peifferwolf.com

                                                        COUNSEL FOR PLAINTIFF

                                                        By: /s/ Christopher O. Murray (w/ consent)
                                                        Christopher O. Murray David B. Meschke
                                                        Brownstein Hyatt Farber Schreck, LLP
                                                        410 Seventeenth Street, Suite 2200
                                                        Denver, Colorado 80202-4432
                                                        Phone: 303-223-1100
                                                        Email: cmurray@bhfs.com
                                                        dmeschke@bhfs.com

                                                        Christopher D. Baucom #06284672
                                                        ARMSTRONG TEASDALE LLP
                                                        7700 Forsyth Blvd., Suite 1800 St. Louis, MO
                                                        63105
                                                        Phone: 314-621-5070
                                                        Email: cbaucom@atllp.com
                                                        COUNSEL FOR DEFENDAT LAKES
                                                        LOAN SERVICES, INC.




                                     CERTIFICATE OF SERVICE
       I hereby certify that on February 11, 2021, a true and accurate copy of the foregoing document

was filed with the Clerk of the Court using the CM/ECF e-filing system. Said system will provide

notice and allow access to all counsel of record.

                                                        /s/ Brandon M. Wise




                                                    2
